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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


IN RE: APPLICATION OF                      MISC. NO.
BRIAN HANNA TO PRACTICE
BEFORE THE COURT                           APPLICATION TO APPEAR ON
                                           BEHALF OF THE UNITED
                                           STATES; DECLARATION OF
                                           BRIAN HANNA


       APPLICATION TO APPEAR ON BEHALF OF UNITED STATES
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      Pursuant to LR83.1(c)(1) of the Local Rules of Practice for the United States

District Court for the District of Hawaii, BRIAN HANNA, Attorney for the United

States of America hereby notifies the court of his intention to appear before this

court on behalf of the United States and to attend to the interests of the United

States during the period of his employment by the United States and requests leave

to do so. A declaration in support of this is filed herewith.

      DATED:      At.,y Sit     , 2-0141, at Washington, D.C.



                                              Brian Hanna
                                              Trial Attorney
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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

IN RE: APPLICATION OF                       ) MISC. NO.
BRIAN HANNA TO PRACTICE
BEFORE THE COURT                            ) DECLARATION OF BRIAN
                                            ) HANNA




                       DECLARATION OF BRIAN HANNA

      1. I am a Trial Attorney employed by the United States with the Antitrust

Division of the United States Department of Justice.

      2. I expect to appear on behalf of the United States and to tend to the

interests of the United States before this Court.

      3. I am an active member in good standing of the bar of the Supreme Court

of the State of Virginia, which is the highest court in that state.

      I declare, upon penalty of perjury, that the forgoing is true and correct.

      DATED: Au 504sk 0-,7001 , at Washington, D.C.
